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   EXHIBIT E
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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

AFL-CIO, et al.,

Plaintiffs,

v.                                                     Case No. 1:25-cv-00339

DEPARTMENT OF LABOR, et al.,

Defendants.



                       DECLARATION OF JOSEPH L. PALLER, JR.
        I, Joseph L. Paller, Jr., hereby declare under penalty of perjury as prescribed in 28 U.S.C.

§ 1746 that the following is true and correct:

        1.     I am over eighteen years old, of sound mind, and fully competent to make this

declaration. This declaration is based on my personal knowledge, information, and belief. I

submit this declaration in support of the Plaintiffs’ Renewed Motion for a Temporary

Restraining Order.

        2.     I am admitted to practice law in the States of California and Nevada, and all

federal courts in California. I am a principal in the law firm of Gilbert & Sackman, a Law

Corporation, 800 Wilshire Boulevard, Suite 1410, Los Angeles, California 90017.

        3.     I have represented union-sponsored employee benefit plans for more than 40

years. In that capacity, I have designed, qualified, and currently represent multiemployer

pension plans in multiple states, including defined benefit pension, 401(k), money purchase, and

profit-sharing plans. On the health and welfare side, I serve as legal counsel for many traditional

multiemployer insured and self-insured health plans, as well as multiemployer health

reimbursement plans and retiree health plans. I also currently represent apprenticeship and

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training trusts, as well as labor-management cooperation funds and vacation/savings plans.

Throughout my legal career, I have also represented labor unions in a variety of locations and

across industries.

       4.      I have been admitted as a Fellow of the American College of Employee Benefits

Counsel (ACEBC) in recognition of my work as an employee benefits practitioner, and as a

Fellow of the College of Labor and Employment Lawyers in recognition of my contributions to

labor and employment law. I was elected by the ACEBC to the Board of Governors of the

ACEBC in 2020, and continue to serve as a Governor of that organization. I serve as a Chapter

Co-Editor for the current edition of the leading legal treatise on ERISA law, Employee Benefits

Law, published jointly by the American Bar Association and Bloomberg BNA. In addition, I am

a Co-Chair of the ABA Subcommittee on Jointly Administered Plans of the Labor &

Employment Law Section, which focuses on multiemployer and single employer Taft-Hartley

trust funds. My articles and presentations on employee benefits, labor, and employment issues

have appeared in multiple books, legal journals, and conference materials.

       5.      The multiemployer plans I represent were created and are maintained by labor

unions and management per the terms of collective bargaining agreements. The employees who

participate in the multiemployer plans are, with few exceptions, all union members. The pension

and 401(k) plans provide retirement income to retired union employees and their spouses. The

health plans provide benefits to active and retired union members and families.

       6.      The Employee Benefits Security Administration (EBSA) is the arm of the

Department of Labor (DOL) focusing on protecting employee benefits nationwide. In my

capacity as legal counsel to pension and health plans, I have personally responded to multiyear

EBSA investigations of plan governance and operations and have helped colleagues do the same.



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These investigations focus on plans’ compliance with ERISA and the protections ERISA

provides to employees participating in ERISA plans. These investigations typically last many

years, and require the plans to produce thousands, or hundreds of thousands, of records of highly

confidential information regarding the employees participating in the plans, as well as their

spouses, widows, and children. The plans we represent uniformly cooperate in these

investigations, including by producing highly confidential documents and information requested

by DOL.

       7.      Upon the initiation of an investigation, EBSA typically demands that a plan

produce highly sensitive personal data covering periods of many years. For example, EBSA’s

opening letter to a defined benefit pension plan announcing an inquiry will demand that the plan

produce census data for all participants in the plan (the union members and their spouses) for all

years under review. Specifically, EBSA’s opening letter will require the production of an

electronic spreadsheet detailing participants’ and spouses’ SSNs, employee ids, first names, last

names, home addresses, dates of birth, pay status (terminated, active, deferred spouse, retiree

beneficiary, etc.), accrued benefits, dates of hire, and pension start dates. Because EBSA’s

requests seek information about retirees as well as actives, the data produced will include plan

participants whose active employment ended decades ago.

       8.      In 401(k) plan investigations, EBSA requires plans to produce detailed

information over many years showing union members’ wages in each payroll period, the timing

and amounts of mandatory contributions paid by their employers and voluntary employee

contributions deferred from employee paychecks in each payroll period, loans made from

employee accounts and their repayment by employees in each payroll period, and account

balances for all employees over time.



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       9.      Similarly, in health plan investigations, EBSA requires production of claims

information, appeals documents, and other health information of participating union members

and their immediate families. The confidentiality of this information is strictly regulated by a

variety of federal and state privacy laws and regulations, including the Health Insurance

Portability and Accountability Act.

       10.     Barring certain exceptions under federal information law, the personal

information produced to EBSA by the plans is confidential. It is not public information.



Executed on February 11, 2025

                                                                            /s/ Joseph L. Paller, Jr.

                                                                                Joseph L. Paller, Jr.




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